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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

Jennifer Beesley and Todd Beesley,
                                           Case No.: 2:17-cv-12522-AJT-EAS
      Plaintiffs,                          Hon. Judge Arthur J. Tarnow
                                           Magistrate Judge Elizabeth A. Stafford
v.

Association Dues Assurance
Corporation,

      Defendant.

        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties, through their undersigned counsel, stipulate and agree, that the above-

captioned action be dismissed with prejudice in its entirety. The parties further

agree that each side shall bear their own attorney’s fees and costs.

      IT IS SO ORDERED.

Dated: March 27, 2018                      s/Arthur J. Tarnow
                                           Hon. Arthur J. Tarnow
                                           U.S. District Court Judge
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Stipulated and Agreed:                 Respectfully Submitted,

/s/ Brian P. Parker (with consent)     /s/ Charity A. Olson
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Dated: March 23, 2018
